Case 0:12-cr-60049-KMW Document 744 Entered on FLSD Docket 08/28/2020 Page 1 of 1



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                  Case No. 12-CR-60049-WILLIAMS

      THE UNITED STATES OF AMERICA

                 Plaintiff,

                 v.

      ROGERIO CHAVES SCOTTON,

                Defendant.
                                                      /


                                                   ORDER

            THIS MATTER is before the Court upon Magistrate Judge William Matthewman’s

  Report and Recommendation (DE 741) on Defendant Rogerio Chaves Scotton’s pro se

  Motion to Vacate His Judgment Because of Fraud on the Court to Assert Jurisdiction

  Pursuant to Fed. R. Crim. P. 12(b)(2). (DE 728, 731)1.

            Upon and independent review of the Report (DE 741), Defendant’s Objections

  (DE 743), the record, and applicable case law, it is ORDERED AND ADJUDGED that the

  conclusions in the Report (DE 741) are AFFIRMED AND ADOPTED. Defendant’s Motion

  is DENIED.

            DONE AND ORDERED in chambers in Miami, Florida, this 28th day of August,

  2020.




  CC:       Rogerio Chaves Scotton
            7797 Golf Circle Dr. #204
            Margate, FL 33063

  1
      Defendant filed identical Motions at DE 728 and DE 731.
